         Case 2:22-cv-01605-KJN Document 3 Filed 09/16/22 Page 1 of 2


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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   DANIEL EMILIO GUZMAN PAZ,                         No. 2:22–cv–1605–KJN

12                      Plaintiff,                     ORDER GRANTING IFP AND
                                                       DIRECTING E-SERVICE
13          v.
                                                       (ECF No. 2.)
14   COMMISSIONER OF SOCIAL
     SECURITY,
15
                        Defendant.
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17          Presently pending before the court is plaintiff’s motion for leave to proceed in forma

18   pauperis. See 28 U.S.C. § 1915 (authorizing the commencement of an action “without

19   prepayment of fees or security” by a person that is unable to pay such fees). 1 (ECF No. 2.)

20   Plaintiff submitted the required affidavit, which demonstrates an inability to prepay fees and costs

21   or give security for them. Accordingly, IT IS HEREBY ORDERED that:

22          1.      Plaintiff’s request to proceed in forma pauperis (ECF No. 2) is GRANTED;

23          2.      The Clerk of Court is directed to issue a summons for this case, the undersigned’s

24                  scheduling order for Social Security cases, and the court’s order regarding consent

25                  to the jurisdiction of a magistrate judge; and

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27    Actions involving review of Social Security decisions are referred to a magistrate judge
     pursuant to 28 U.S.C. § 636(b)(1) and E.D. Cal. L.R. 302(c)(15).
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                                                      1
         Case 2:22-cv-01605-KJN Document 3 Filed 09/16/22 Page 2 of 2


 1              3.   In keeping with the court’s e-service procedure for Social Security cases, service

 2                   on the defendant Commissioner of Social Security Administration shall proceed

 3                   under the court’s E-Service program as follows. Once a summons is issued, the

 4                   Clerk of Court shall deliver to the Commissioner of Social Security

 5                   Administration and the United States Attorney’s Office at their designated email

 6                   addresses a notice of electronic filing of the action along with the summons and

 7                   complaint. The Commissioner has represented to the court not to raise a defense

 8                   of insufficient service of process if provided with notice of a complaint as detailed

 9                   in this order. This order is not intended to prevent parties from making any other

10                   motions that are appropriate under the Federal Rules of Civil Procedure.

11   Dated: September 16, 2022

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     paz.1605
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